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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

JON ROBERT ADAMS,                          )
                                           )
              Plaintiff                    )
                                           )
       v.                                  )      2:17-cv-00357-JAW
                                           )
SCOTT R. LANDRY, et al.                    )
                                           )
              Defendant                    )


                   RECOMMENDED DECISION ON DEFENDANTS’
                      MOTION FOR SUMMARY JUDGMENT

       In this action, Plaintiff claims Defendants violated his constitutional right to

protection against a serious threat posed by another prisoner while he was confined at the

Maine Correctional Center. The matter is before the Court on Defendants’ Motion for

Summary Judgment. (ECF No. 52.) Plaintiff did not file a response to the motion.

       Following a review of the record and after consideration of Defendants’ arguments,

I recommend the Court grant the motion.

                            SUMMARY JUDGMENT STANDARD

       “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). “After the moving party has presented evidence in support

of its motion for summary judgment, ‘the burden shifts to the nonmoving party, with

respect to each issue on which he has the burden of proof, to demonstrate that a trier of fact
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reasonably could find in his favor.’” Woodward v. Emulex Corp., 714 F.3d 632, 637 (1st

Cir. 2013) (quoting Hodgens v. Gen. Dynamics Corp., 144 F.3d 151, 158 (1st Cir. 1998)).

        A court reviews the factual record in the light most favorable to the non-moving

party, resolving evidentiary conflicts and drawing reasonable inferences in the non-

movant’s favor. Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If a court’s review of the

record reveals evidence sufficient to support findings in favor of the non-moving party on

one or more of the plaintiff’s claims, a trial-worthy controversy exists, and summary

judgment must be denied as to any supported claim. Id. (“The district court’s role is limited

to assessing whether there exists evidence such that a reasonable jury could return a verdict

for the nonmoving party.” (internal quotation marks omitted)). Unsupported claims are

properly dismissed. Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986).

                                  SUMMARY JUDGMENT RECORD

        When presented with a summary judgment motion, a court ordinarily considers only

the facts included in the parties’ statements of material facts, which statements must be

supported by citations to evidence of record. Federal Rule of Civil Procedure 56(c) and

District of Maine Local Rule 56(b) – (d) require the specific citation to record evidence.

In addition, Local Rule 56 establishes the manner by which parties must present their

factual statements and the evidence on which the statements depend. A party’s pro se status

does not relieve the party of the obligation to comply with the court’s procedural rules. 1



1
  “[T]he Court is required to maintain a strict neutrality between opposing parties and even though a more
forgiving reading may be appropriate for a pro se party in the summary judgment context, it is also true that
‘[j]udges and magistrate judges who review these filings must be able to rely on procedural rules so as to
avoid becoming the lawyer for the unrepresented [party] or devoting an excessive portion of their time to


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Ruiz Rivera v. Riley, 209 F.3d 24, 27 – 28 & n. 2 (1st Cir. 2000); Marcello v. Maine, 489

F. Supp. 2d 70, 77 (D. Me. 2007).

       By rule, a party seeking summary judgment must file, in addition to its summary

judgment motion, a supporting statement of material facts setting forth each fact in a

separately numbered paragraph, with each factual statement followed by a citation to

evidence of record that supports the factual statement. D. Me. Loc. R. 56(b). A party

opposing a motion for summary judgment must file an opposing statement in which it

admits, denies, or qualifies the moving party’s statements by reference to each numbered

paragraph, with citations to supporting evidence, and in which it may set forth additional

facts, in separately numbered paragraphs, with citation to supporting evidence. D. Me.

Loc. R. 56(c). If an additional statement is introduced by the non-moving party, the moving

party must file a reply statement in which it admits, denies, or qualifies the non-moving

party’s additional statements by reference to each numbered paragraph, with citations to

supporting evidence. D. Me. Loc. R. 56(d).

       “Facts contained in a supporting or opposing statement of material facts, if

supported by record citations as required by this rule, shall be deemed admitted unless

properly controverted.” D. Me. Loc. R. 56(f). Additionally, “[t]he court may disregard

any statement of fact not supported by a specific citation to record material properly

considered on summary judgment.” Id. Finally, “[t]he court shall have no independent




such cases.’” United States v. Baxter, 841 F. Supp. 2d 378, 383 (D. Me. 2012) (quoting Clarke v. Blais,
473 F. Supp. 2d 124, 129 (D. Me. 2007)).


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duty to search or consider any part of the record not specifically referenced in the parties’

separate statement of facts.” Id.

        Nevertheless, the factual assertions contained in the verified pleadings and affidavits

filed by a pro se litigant generally will be considered in the review of a summary judgment

motion. That is, where a pro se litigant has failed to comply strictly with the summary

judgment rules, this Court has considered the sworn assertions of record. See Clarke v.

Blais, 473 F. Supp. 2d 124, 128 – 30 (D. Me. 2007) (“The First Circuit has not addressed

this notice debate directly, but has said, in the summary judgment context, that

unrepresented plaintiffs’ opposing affidavits and opposition papers are to be read

‘liberally.’” (citing Posadas de Puerto Rico, Inc. v. Radin, 856 F.2d 399, 401 (1st Cir.

1988), and Mas Marques v. Digital Equip. Corp., 637 F.2d 24, 27 (1st Cir. 1980));

Demmons v. Tritch, 484 F. Supp. 2d 177, 182 – 83 (D. Me. 2007). Plaintiff filed a verified

complaint in this matter. (Complaint, ECF No. 1.)

                          FACTUAL AND PROCEDURAL BACKGROUND2

A.      Arrival and Dormitory Six

        On March 11, 2014, Plaintiff began serving a two-year sentence at the Maine

Correctional Center (MCC). (Complaint § IV ¶ 1, ECF No. 1; Defendant’s second

Statement of Material Fact ¶ 1, ECF No. 53, hereinafter DSSMF.) For intake and

classification purposes, Plaintiff was assigned to the Multi-Purpose Unit (MPU). (Id. ¶ 4.)



2
 The following facts are drawn primarily from Defendants’ statement of material facts. (ECF No. 53.)
Plaintiff did not file a response to Defendants’ factual statements. Accordingly, given the failure to respond,
Plaintiff’s ability to contest any of Defendants’ factual assertions is limited to statements contained in his
prior filings, which Plaintiff signed under penalty of perjury.


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At the end of March 2014, Plaintiff was moved to Dormitory Six. (Id. ¶ 5.) Because this

incarceration was not the first time Plaintiff had been incarcerated at MCC, he was well-

known within the prison population. (Complaint § IV ¶ 2.) Plaintiff had a reputation within

the prisoner population as an “informant.” (Id. ¶ 3.) At MCC, other prisoners insulted

Plaintiff and Plaintiff considered some of the comments to be threats of bodily harm

because of his reputation of being an informant. (Id.)

B.     The Correctional Recovery Academy in Unit One

       On May 5, 2014, Plaintiff was moved from Dormitory Six to Unit One. (Id. ¶ 6;

DSSMF ¶ 4.) Unit One contains several general population living areas, including the

structured living unit (SLU) and the Correctional Recovery Academy (CRA), which is a

substance abuse treatment unit. (DSSMF ¶ 3.) Plaintiff participated in the CRA program,

which is a nine-month program. (Complaint § IV ¶ 6.)

       Plaintiff had some difficulties in the CRA program and was briefly suspended from

the program for throwing a milk crate filled with cleaning supplies. (DSSMF ¶ 5.) Plaintiff

was later indefinitely suspended and moved to the segregation unit because he failed to

follow staff directives as he was out of place on three occasions and he refused a staff order

to lock up. (Id. ¶ 6.)

       Defendant Bailey, the Unit Manager for Unit One at MCC, received reports that

Plaintiff might have threatened other prisoners in the CRA. (Id. ¶ 7.) Defendant Bailey

met with Plaintiff to discuss the issues that had arisen in the CRA. (Id. ¶ 8.) Plaintiff

admitted to making statements such as “I’m gonna stick you” to the other prisoners. (Id.)

Defendant Bailey and the Unit Team decided to let Plaintiff stay in the program. (Id.)


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       Shortly after starting the CRA program, other prisoners insulted and threatened

Plaintiff, called him a “rat” and other names, and said, “you will get [expletive] up if you

start ratting!” (Complaint § IV ¶ 7.)        Plaintiff reported this treatment, which he

characterized as harassment and as threats, to correctional sergeants and Defendant Bailey.

(Id. ¶ 8.) Plaintiff asked to leave the CRA program because of the alleged harassment, but

Defendant Bailey advised Plaintiff that he should ignore the prisoners who made the

statements. (Id. ¶ 9.) Plaintiff’s difficulties continued, and he asserts he was told he could

not leave the program. (Id. ¶ 10.)

       In September 2014, Plaintiff was removed from the CRA program when a number

of prisoners reported that Plaintiff had threatened to fight and kill another prisoner while

in the gym. (DSSMF ¶ 9.) Plaintiff claims that he did this deliberately to get terminated

from the CRA program so that he could avoid what he perceived to be harassment and

threats by other prisoners. (Complaint § IV ¶ 11.)

C.     Return to Dormitory Six within Unit Two and Transfer to the Structured
       Living Unit within Unit One

       Upon termination from the CRA program in September 2014, Plaintiff first went to

the segregation unit, and then back to Unit Two. (DSSMF ¶ 9.) When Plaintiff arrived in

Dormitory Six again, the harassment and threats continued. (Complaint § IV ¶ 12.)

Plaintiff made verbal complaints to his Unit Officers and wrote to Defendant McCaffery,

Director of Classification at MCC, requesting a transfer back to Cumberland County Jail

to finish his sentence there. (Id. ¶¶ 12, 15.) Defendant McCaffery denied Plaintiff’s

request. (Id. ¶ 16; DSSMF ¶ 48.) In his letter, Plaintiff wrote that he was having



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“problems,” “struggles,” and was being “challenged and provoked;” Defendant McCaffery

did not understand Plaintiff’s letter to mean that Plaintiff felt threatened with serious harm

from another prisoner. (DSSMF ¶ 46 – 47; ECF No. 53-5.) Plaintiff did not identify any

particular threats against him, and Defendant McCaffery understood Plaintiff’s request to

be motivated by a desire to be closer to his family. (Id.)

       On or around November 26, 2014, Plaintiff was placed into segregation and was

recommended for transfer back to Unit One. (Complaint § IV ¶ 17; DSSMF ¶ 10.) The

recommendation was based on Plaintiff’s earlier threats that prompted his removal from

the CRA program, information that Plaintiff was threatening prisoners in Unit Two, and

the suspicion that Plaintiff set up his cellmate by planting a shank under his cellmate’s

pillow. (DSSMF ¶ 10.) Plaintiff was assigned to the SLU, which is for prisoners with

behavioral problems. (Id. ¶ 11; Complaint § IV ¶ 17.) When Plaintiff arrived in the SLU,

other prisoners yelled out “[Expletive] Rat” and “Rat Bitch,” and Plaintiff alleges “the

threats of bodily harm continued.” (Id. ¶ 19.)

       Plaintiff asserts he made numerous complaints to Defendant Bailey. (Id. ¶ 20 – 21.)

Defendant Bailey attempted to explain to him the difference between being called a name

and actually being threatened. (DSSMF ¶ 12.) Defendant Bailey also counseled Plaintiff

on how to react to name calling, including advising him that if he ignored insults, the insults

will eventually stop. (Id.; Complaint § IV ¶ 21.) Plaintiff requested placement in

Protective Custody Housing, but Defendant Bailey concluded Plaintiff did not qualify for

protective custody and thus denied the request. (Complaint § IV ¶ 22 – 23.)




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       Because Plaintiff did not provide any details about the source of the alleged threats,

Defendant Bailey could asked other staff members whether they had witnessed any threats

or name calling. (DSSMF ¶ 13.) The other staff members reported that they had not

observed any threats; Defendant Bailey reminded them to address threats if they became

aware of any. (Id.)

       In January 2015, Defendant Bailey learned that Plaintiff was placed in the

segregation unit for his own safety when he was overheard by another prisoner giving

information to staff members about other prisoners. (Id. ¶ 14.) Defendant Bailey had

instructed Plaintiff several times not to act as an informant in front of other prisoners. (Id.

¶ 15.) Defendant Bailey had also told him she did not want his information because it was

not reliable. (Id.) Plaintiff came back to the SLU within Unit One a few days later, without

incident. (Id. ¶ 16.)

       In February 2015, Plaintiff was moved from the northern half of the SLU to the

southern half. (Id.; Complaint § IV ¶ 24.) Plaintiff told an officer that he was being

threatened, but when interviewed by staff, Plaintiff retracted the statement and said he did

not fear for his safety. (Id.) Throughout the month, Plaintiff complained to Defendant

Bailey and requested protective custody placement, but Defendant Bailey reiterated that

Plaintiff did not qualify. (Complaint § IV ¶¶ 27 – 28.) Other staff members reported to

Defendant Bailey that Plaintiff had approached them upset about name calling, but the staff

members also reported that after they had talked to Plaintiff, he calmed down and later said

everything was “okay” or “much better.” (DSSMF ¶ 17.)




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          On March 20, 2015, Plaintiff completed a detailed Prisoner Grievance and sent it to

the facility’s Senior Deputy Warden of Security, Defendant Brown. (Complaint § IV ¶

29.) Plaintiff claims he reiterated his safety concerns and requested placement in protective

custody. (Id. ¶ 30.) Plaintiff asserts the grievance was ignored. (Id. ¶ 29.) Defendant

Brown maintains he did not receive the grievance3 and was unaware that Plaintiff felt

threatened because Defendant Brown relied on the Unit Manager and Unit Team to respond

to such complaints and to determine whether any measures were necessary to address a

prisoner’s concerns. (DSSMF ¶ 49 – 50.)

D.        Assault in a Nearby Cell

          On March 31, 2015, Plaintiff and another prisoner were placed in the segregation

unit for fighting. (Complaint § IV ¶¶ 31 – 32; DSSMF ¶ 18.) Plaintiff claims he was

assaulted, lost consciousness, and suffered head injuries. (Id. ¶¶ 31, 34.) On April 1, 2015,

Plaintiff submitted a Prisoner Request form to the facility’s Criminal Investigator seeking

criminal charges against the other prisoner. (Id. ¶ 35.) On April 3, 2015, Plaintiff and the

other prisoner were removed from segregation and returned to the northern half of the SLU.

(Id. ¶ 36; DSSMF ¶ 18.)

          When Defendant Bailey spoke to Plaintiff about the incident, Plaintiff told her the

other prisoner had been looking at some paperwork that Plaintiff had spread out on the

table in a common area. (DSSMF ¶ 19.) Plaintiff said something to the other prisoner

about it, and then followed the other prisoner back to his cell to apologize, when the other



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    Defendant Brown claims the first time he saw the grievance was in connection with this litigation.


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prisoner attacked him. (Id.) According to the other prisoner, Plaintiff was angry that the

other prisoner was looking at the paperwork on the table. (Id.) Plaintiff followed the other

prisoner to the other prisoner’s cell. (Id.) Plaintiff stood in the doorway and threatened

him. (Id.) The other prisoner believed he needed to fight his way out of his cell in order

to protect himself. (Id.) Defendant Bailey did not believe the assault had anything to do

with Plaintiff acting as an informant. (Id. ¶ 21.)

       Staff members subsequently arranged mediation between Plaintiff and the other

prisoner and that both prisoners said they had no further issue with each other. (Id. ¶ 22.)

Both prisoners said they would be okay to live in the same housing unit. (Id.)

E.     Further Transfers and Requests for Protective Custody

       Over the next few weeks, Plaintiff continued to tell security staff that he did not feel

safe and continued to request protective custody. (Id. ¶ 24 – 26.) Defendant Bailey did

not believe there was a risk to Plaintiff’s safety that required protective custody, but also

did not consider protective custody appropriate in part because Plaintiff’s history of

threatening other prisoners created a likelihood that Plaintiff would try to control other

prisoners in that unit, resulting in a risk to others. (Id. ¶ 30 – 40.) Plaintiff previously

admitted to another staff member that the “comforts” of protective custody influenced his

requests for a placement there. (Id. ¶ 39.)

       On April 10, 2015, Plaintiff was transferred to C-Pod North within the MPU over

his objections. (Complaint § IV ¶¶ 46 – 57.) Plaintiff asserts that “[i]mmediately, [other

prisoners] began to yell out threats as the Plaintiff was proceeding to his assigned cell,

calling Plaintiff a “rat” and other insults. (Id. ¶¶ 59 – 60.) Plaintiff was sent to segregation


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shortly thereafter. (Id. ¶¶ 61 – 64.) On April 14, 2015, Plaintiff was transferred to C-Pod

Center within the MPU and remained there without incident until June 5, 2015, when he

was transferred back to the SLU. (Id. ¶¶ 65 – 69, 75.)

       In July 2015, Defendant Bailey and the Warden met with Plaintiff to discuss his

most recent request to be placed in protective custody. (Id. ¶ 27.) Plaintiff did not provide

any specifics about the alleged harassment, but he gave a few names of the prisoners who

were allegedly harassing him; Defendant Bailey asked the staff to monitor the interactions

between Plaintiff and the other prisoners. (Id.) Plaintiff admitted that often when other

prisoners threatened him, it was because he threatened them first. (Id.)

       Plaintiff had further disciplinary difficulties for making threats; as a result, he was

transferred back and forth to segregation on a few occasions. (Id. ¶ 26 – 29.) Less than

one week before Plaintiff’s release from MCC, Defendant Bailey met with Plaintiff and

counseled him not to yell things out of his cell. (Id. ¶ 29.) Plaintiff was given the choice

to remain where he was until release or to return to MPU general population; Plaintiff opted

to stay in the northern half of the SLU in Unit I. (Id.)

F.     Procedural History and Subsequent Periods of Incarceration

       On July 17, 2015, Plaintiff commenced a prior action in which he asserted the same

claims he asserts in this action. Adams v. Landry, No. 2:15-cv-00282-JAW (Am. Compl.,

ECF No. 25) (the prior action). Plaintiff was released from custody on September 15, 2015.

(Defendants’ First Statement of Material Fact ¶ 8, ECF No. 28, hereinafter DFSMF.) On

November 27, 2015, Plaintiff advised the Court that he was confined at the Cumberland

County Jail, and he requested information regarding the “status of [his] pending suits in


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this Court.”4 (Prior Action, ECF No. 36.) On December 7, 2015, Plaintiff informed the

Court that he was soon to be released to a rehabilitation center in Auburn, Maine, and he

provided the address of the center. (Prior Action, ECF No. 37.)

       In January 2016, the United States Postal Service returned to the Court mail the

Court sent to Plaintiff. The Postal Service stamped the envelopes “not deliverable as

addressed, unable to forward,” and the writing on both envelopes suggested Plaintiff had

moved from the rehabilitation center. (Prior Action, ECF Nos. 40, 41.) Plaintiff did not

inform the Court of any further change of address or otherwise make filings or

communicate with the Court for more than six months. On August 12, 2016, the Court

dismissed the prior action without prejudiced based on Plaintiff’s failure to prosecute.

(Prior Action, ECF Nos. 48, 49.)

       On December 8, 2016, Plaintiff was reincarcerated at MCC. (DFSMF ¶ 11.) In

June 2017, Plaintiff filed a motion to “refile” or “reopen” the prior action. (Prior Action,

ECF No. 51.) The Court denied Plaintiff’s request to reopen the case, but noted that

Plaintiff could refile the action. (Prior Action, ECF No. 56.)

       Plaintiff filed the complaint in this action on September 14, 2017. (ECF No. 1.)

Plaintiff was released from custody, and he provided the Court with notice of a new

address, which notice the Court docketed on January 2, 2018. (ECF No. 18.) On May 1,

2018, upon a review pursuant to 28 U.S.C. §§ 1915 and 1915A, the Court dismissed four

individuals named as defendants in the complaint, leaving as defendants Penny Bailey,


4
 Plaintiff’s other civil action was Adams v. Cummings, et al., No. 2:15-cv-00370-JAW. On December 8,
2015, the Court dismissed that action after a review pursuant to 28 U.S.C. § 1915 and 28 U.S.C. § 1915A.


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Glean Brown, and Scott McCaffery. (Order Affirming Recommended Decision and

Addressing Other Motions, ECF No. 19.) When the Court sent Plaintiff copies of its May

2018 decision and related orders, the U.S. Postal Service returned the mail with the notation

“return to sender, not deliverable as addressed, unable to forward.” (ECF Nos. 24, 25.)

       On July 9, 2018, Defendants filed a Motion for Partial Summary Judgment. (ECF

No. 27.) In that motion, Defendants reported that after Plaintiff’s release from the Maine

Correctional Center, Plaintiff violated the terms of his probation, was arrested on or about

June 25, 2018, and was confined at the Cumberland County Jail at the time of filing that

motion. (Id. at 6.) On October 1, 2018, the Court granted the Motion for Partial Summary

Judgment regarding Plaintiff’s claims for declaratory judgment and negligent supervision.

(ECF Nos. 32, 34.)

       On January 18, 2019, Defendants filed the Motion for Summary Judgment on the

remaining claims against the remaining defendants. (ECF No. 52.). Plaintiff did not

respond to the motion.5

                                           DISCUSSION

       The Cruel and Unusual Punishment Clause of the Eighth Amendment, as applied to

the states through the Fourteenth Amendment, imposes a duty on prison officials to protect

inmates from violence at the hands of other inmates. Lakin v. Barnhart, 758 F.3d 66, 70

(1st Cir. 2014). “That duty has its origins in the forced dependency of inmates[.]” Giroux

v. Somerset Cty., 178 F.3d 28, 31 (1st Cir. 1999). “Having incarcerated ‘persons [with]


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  According to the confined inmate list maintained by the Cumberland County Sheriff’s Office, see
http://www.cumberlandso.org/235/Confined-Inmate-List, at that time Plaintiff was scheduled for release
on March 7, 2019.


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demonstrated proclivit[ies] for antisocial criminal, and often violent, conduct,’ having

stripped them of virtually every means of self-protection and foreclosed their access to

outside aid, the government and its officials are not free to let the state of nature take its

course.” Farmer v. Brennan, 511 U.S. 825, 833 (1970) (quoting Hudson v. Palmer, 468

U.S. 517, 526 (1984)).

       Under the law, however, not every incident of prisoner-on-prisoner violence that

results in injury gives rise to constitutional liability. Lakin, 758 F.3d at 70. To raise a

genuine issue of constitutional liability, a plaintiff must demonstrate that he was

“incarcerated under conditions posing a substantial risk of serious harm,” and that the

defendant “acted, or failed to act, with ‘deliberate indifference to inmate health or safety.’”

Id. (quoting Farmer, 511 U.S. at 834). In other words, a plaintiff must satisfy both an

objective standard (substantial risk of serious harm) and a subjective standard (deliberate

indifference) in order to prove a claim of deliberate indifference. Kosilek v. Spencer, 774

F.3d 63, 82 (1st Cir. 2014) (en banc). “[A] prison official may be held liable under the

Eighth Amendment for denying humane conditions of confinement only if he knows that

inmates face a substantial risk of serious harm and disregards that risk by failing to take

reasonable measures to abate it.” Farmer, 511 U.S. at 847.

       Plaintiff’s remaining claims for money damages against Defendants fail under the

objective prong. Plaintiff did not establish a substantial risk of serious harm prior to the

assault on March 31, 2015. Plaintiff described repeated insults from other prisoners related

to his reputation as an informant. While he might have subjectively interpreted the name

calling and other comments as “challenges,” “provocations,” and threats, they do not,


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without more, establish a sufficient risk of serious injury from an objective perspective to

create a constitutional deprivation. See Switzer v. Thomas, No. 5:12CV00056, 2013 WL

693090, at *5 (W.D. Va. Feb. 25, 2013), recommendation adopted, No. 5:12CV00056,

2013 WL 1145864 (W.D. Va. Mar. 19, 2013) (“his being subjected to ‘insults’ by fellow

inmates . . . without more does not rise to the level of a constitutional violation”); Smith v.

Gant, No. CV 12-7207 DDP (JCG), 2014 WL 12684168, at *2 (C.D. Cal. June 18, 2014),

recommendation adopted, No. CV 12-7207 DDP (JCG), 2015 WL 13239090 (C.D. Cal.

Sept. 4, 2015) (rejecting failure to protect claim based on verbal harassment from other

prisoners).6

        Even if the comments from the other prisoners could be construed as presenting a

substantial risk of serious bodily injury to Plaintiff, a fact finder could not reasonably infer,

on this record, that Defendants subjectively perceived the comments Plaintiff reported as

constituting a genuine threat to Plaintiff’s safety, and that Defendants chose deliberately to

ignore the threat. The record establishes that Defendants perceived the comments as

reflecting conflict that is not atypical of the prison environment. Defendants took measures

to help Plaintiff respond to the comments and manage the conflict. For instance, when

another prisoner observed Plaintiff acting like an informant, Plaintiff was temporarily

moved into segregation, which action refutes the inference that Defendants were


6
  The only comment Plaintiff mentions in his complaint that could reasonably be construed as a threat was
the statement of some prisoner that “You will get [expletive] up if you start ratting!” (Complaint § IV ¶ 7.)
This statement cannot reasonably be construed as the basis of a constitutional deprivation because it was
made at the start of Plaintiff’s CRA program nearly a year before the alleged assault, while Plaintiff was in
different housing than the northern Security Building, and Plaintiff did not attribute the comment to any
particular prisoner. No reasonable fact finder could find that the comment, without more, constituted a
genuine, specific, and credible threat to Plaintiff’s safety nearly a year later in a different living situation.


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unconcerned about Plaintiff’s safety. The undisputed evidence establishes that Defendants

did not simply dismiss Plaintiff’s complaints as unfounded; instead, they monitored

Plaintiff’s interaction with other prisoners for possible threats, but they did not observe a

genuine threat to his safety. Furthermore, Plaintiff never reported to Defendants a credible

threat with any level of specificity, despite many opportunities to do so. Under the

circumstances, the record does not support a finding that Defendants were subjectively

aware of a substantial risk of serious bodily injury and deliberately chose to ignore it.

       Finally, even if Plaintiff’s reports of prisoner comments were sufficient to establish

a substantial risk of serious bodily injury, and even if Plaintiff’s nonspecific reports of the

comments were sufficient to notify Defendants of that serious risk, Plaintiff’s claim for

damages resulting from the March 31, 2015 assault fails because the unrebutted evidence

establishes that the assault was not the result of that particular risk – i.e., that Plaintiff was

in danger because of the perception that he was an informant.

       For a constitutional tort claim under § 1983 to succeed there must be “a causal

connection” between the defendants’ conduct and the Plaintiff’s harm. Gutierrez-

Rodriguez v. Cartagena, 882 F.2d 553, 559 (1st Cir. 1989); see also Scott v. Cote, No. CIV.

05-81-P-C, 2006 WL 1030119, at *8 (D. Me. Apr. 18, 2006) (an Eighth Amendment failure

to protect claim requires plaintiff “to produce sufficient evidence of (1) a substantial risk

of serious harm; (2) the defendants’ deliberate indifference to that risk; and (3) causation”)

(quoting Hale v. Tallapoosa County, 50 F.3d 1579, 1582 (11th Cir.1995)). Here, the record

establishes that the assault was not the result of Plaintiff’s perceived role as an informant.

Rather, the assault was the product of an unrelated disagreement between Plaintiff and the


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alleged assailant. Plaintiff, therefore, has not demonstrated that the incident is related to

the safety risk about which he allegedly notified Defendants.

       In short, viewed in the light most favorable to Plaintiff, the record does not support

a violation of Plaintiff’s Eighth Amendment rights.

                                        CONCLUSION

       Based on the foregoing analysis, I recommend the Court grant Defendants’ Motion

for Summary Judgment. (ECF No. 52.)

                                          NOTICE

              A party may file objections to those specified portions of a magistrate
       judge's report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof. A responsive memorandum
       shall be filed within fourteen (14) days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court's order.


                                                   /s/ John C. Nivison
                                                   U.S. Magistrate Judge
Dated this 27th day of March, 2019.




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